
200 East 90th Street Owners Corp., Plaintiff-Respondent,
see 445/86 Owners Corp. v Haydon, 300 AD2d 87, 88 [2002]; Jones v Southgate Owners Corp., 289 AD2d 73 [2001]; Zuckerman v 33072 Owners Corp., 97 AD2d 736, 737 [1983]; compare Zimiles v Hotel Des Artistes, 216 AD2d 45 [1995] [since the bylaws and proprietary lease contain no specific authority for the imposition of a sublet charge, the court properly voided the surcharge ab initio]).  In opposition, defendants failed to raise a triable issue of fact controverting the applicability, force and effect of these provisions.
We have considered defendants' remaining arguments and find them unavailing.
THIS CONSTITUTES THE DECISION AND ORDER OF THE COURT.
I concur I concur I concur
Decision Date: June 29, 2017








